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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

VIRGINIA L. GIUFFRE,

                    Plaintiff,
                                          No. 19 Civ. 3377 (LAP)
-against-

ALAN DERSHOWITZ,

                    Defendant.

VIRGINIA L. GIUFFRE,

                    Plaintiff,
                                          No. 15 Civ. 7433 (LAP)
-against-
                                                    ORDER
GHISLAINE MAXWELL,
                    Defendant.



LORETTA A. PRESKA, Senior United States District Judge:

      Certain Does have contacted the Court to request additional

time to comment on the disclosure of sealed materials from Giuffre

v. Maxwell, No. 15 Civ. 7433, to Alan Dershowitz, Defendant in

Giuffre v. Dershowitz, No. 19 Civ. 3377, as discussed in the

Court’s Order dated August 4, 2020 [dkt. no. 154].          Accordingly,

the Does shall submit comments about the proposed disclosure to

the Court’s email address at PreskaNYSDChambers@nysd.uscourts.gov

by no later than August 25, 2020.       No further extensions will be

granted.

SO ORDERED.

Dated:      New York, New York

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     August 14, 2020

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                      LORETTA A. PRESKA
                      Senior United States District Judge




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